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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA

 

Intersections, lnc., et al.
Plaintiff,
v.
Jcseph C. Locmis, et al.,

Defendant.

Case NO. 1:()9cv597 (LMB/TCB)

 

 

MOTION FOR RECUSAL AND OBJECTION TO
MODE OF PROCEDURE FOR REPORT AND REC()MMENDATION

Comes now Joseph C. Looniis (“Mr. Locrnis”), by counsel, and files this Mction for

Recusal and Objection to Mode cf Procedure for Repcrt and Reccmmendaticn, and in support

thereof, respectfully directs the Court to the accompanying Merncrandum in Suppcrt of this

Mction.

Respectfully submitted,

/s/

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CERTIFICATE OF SERVICE

l hereby certify that on this 16th day of July, 2010, l have filed a true and correct copy of the
foregoing With the Clerk of Court via the Cl\/l/ECF efiling system Which Will send notification of
this filing to the following counsel of record:

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